Case 2:05-CV-02252-BBD-tmp Document 8 Filed 06/20/05 Page 1 of 2 Page|D 18

 

UNITED sTA ms DISTRICT co URT misc E"' ~~/~e D.c.
WESTERN DISTRICT OF TENNESSEE 05 JUN 20 ph 2: 07
WESTERN DIVISION HOBE ,
cLEH-< ,;,1*§*§:3§§§.0§:0
“ ""H. ailm`m~uTs'
NATHANIEL mHONY JUDGMENT IN A CI'VIL CASE
v a
SHELB'Y' COUNTY I'IEALTH CARE CASE NO: 05-2252-D

CORPORATION d/b/ a THE REGIONAL
MEDICAL CENTER AT l-IPHIS,
SABRINA LUCKETTlr and

NANCY BANKS

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the
Stipulation And Order Of Dismissal With Prejudice entered on June
9, 2005, this cause is hereby dismissed with prejudice.

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with Rule 58 and,"or 79(a) FRCP on f ;£* ;ij`g 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02252 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Doneld
US DISTRICT COURT

